
971 P.2d 56 (1998)
In re the VISITATION OF: Natalie Anne TROXEL, Isabelle Rose Troxel, Minors.
Jenifer Troxel and Gary Troxel, Paternal Grandparents, Respondents, and
Tommie Granville, Mother, Appellant.
No. 36737-4-I.
Court of Appeals of Washington, Division 1.
March 26, 1998.

ORDER CHANGING OPINION
COX, J.
IT IS HEREBY ORDERED that the opinion filed in the above case on July 28, 1997, and reported at 87 Wash.App. 131, 940 P.2d 698, be changed as follows:
At 87 Wash.App. 137, the first sentence of the third full paragraph [column 1, line 3, of page 701 of 940 P.2d], which reads:
Accordingly, we hold that a petition for visitation under RCW 26 .10.160(3) must be either contemporaneous with or preceded by a proceeding for child custody.14
shall be changed to read:
Accordingly, we hold that a petition for visitation under RCW 26 .10.160(3) must *57 be contemporaneous with a proceeding for child custody.14
GROSSE, J., and ELLINGTON, J., concur.
